8:14-cr-00225-LSC-MDN               Doc # 59   Filed: 08/21/14     Page 1 of 1 - Page ID # 100




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                   8:14CR225
                                                 )
          vs.                                    )                    ORDER
                                                 )
TERRY SIDIE,                                     )
JAMES PETTRY,                                    )
JAMIE TRUJILLO,                                  )
PAUL SWOBODA,                                    )
ARYAN PERRY, and                                 )
ADAM DOBESH,                                     )
                                                 )
                       Defendants.               )

          This matter is before the court on motion of defendant James Pettry (Pettry) for an
extension of time to file pretrial motions (Filing No. 58). Pettry seeks an additional thirty days
in which to file pretrial motions. The motion will be granted upon condition that Pettry file the
affidavit required by NECrimR 12.1(a) and paragraph 9 of the Progression Order on or before
August 27, 2014. The pretrial motion deadline will be extended as to all defendants in this
matter.


          IT IS ORDERED:
          1.    Pettry’s motion for an extension of time to file pretrial motions (Filing No. 58) is
granted.
          2.    ALL DEFENDANTS in this matter are given until on or before September 22,
2014, in which to file pretrial motions pursuant to the progression order. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the
defendants in a speedy trial. The additional time arising as a result of the granting of the
motions, i.e., the time between August 21, 2014, and September 22, 2014, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for
the reason defendants' counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).


          DATED this 21st day of August, 2014.
                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
